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1    STIP
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2    United States Attorney
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5    PHONE: (702) 388-6336
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7
                                    UNITED STATES DISTRICT COURT
8
9                                          DISTRICT OF NEVADA

10   UNITED STATES OF AMERICA,           )                 2:16-mj-00083-CWH
                                         )
11
                  Plaintiff,             )                 STIPULATION TO CONTINUE
12                                       )                 PRELIMINARY HEARING
                                         )
13   JOSEPH A. MAJOR STRICKLAND,         )
     a.k.a. JODY WATSON                  )                 (First Request)
14
                                         )
15                Defendant.             )
     ___________________________________ )
16
17           IT IS HEREBY STIPULATED and AGREED by and between the United States of

18   America, by and through LISA C. CARTIER GIROUX, Assistant United States Attorney, and
19   Defendant JOSEPH A. MAJOR STRICKLAND, by and through his counsel BRENDA
20
     WEKSLER, ESQ, that the preliminary hearing currently set for February 11, 2016 at 4:00 p.m.,
21
     be vacated and set to a date and time convenient to this court, but no event earlier than thirty (30)
22
23   days.

24           This Stipulation is entered into for the following reasons:
25           1.   The parties wish to have sufficient time to negotiate a possible resolution to this
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     matter pre-indictment.
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1           2.   Discovery is being tendered to the defendant, including his recorded statement to law
2    enforcement, and the defendant and defense counsel will need adequate time to review what has
3
     been provided.
4
            3. The defendant is incarcerated and does not object to the continuance.
5
6           4. This is the first stipulation to continue filed herein.

7           Dated this 8th day of February, 2016.
8
9    /s/ Lisa C. Cartier Giroux                          /s/ Brenda Weksler
     LISA CARTIER GIROUX                                 BRENDA WEKSLER, ESQ.
10   Assistant United States Attorney                    Assistant Federal Public Defender
                                                         Attorney for Joseph A. Major Strickland
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1                             UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3
     UNITED STATES OF AMERICA,           )                2:16-mj-00083-CWH
4                                        )
                  Plaintiff,             )                ORDER
5                                        )
6    JOSEPH A. MAJOR STRICKLAND,         )
     a.k.a. JODY WATSON                  )
7                                        )
                  Defendant.             )
8
     ___________________________________ )
9
10
                                               ORDER
11
12
           IT IS HEREBY ORDERED that the preliminary hearing currently scheduled for
13
                                                                 March 17, 2016
     February 11, 2016 at 4:00 p.m., be vacated and continued to _______________________ at the
14
15            4:00 p.m.
     hour of ____________.

16
17
                  February
            Dated this       10,
                       ___ day of 2016
                                  February, 2016.
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20
                                               _____________________________________
21                                             UNITED STATES MAGISTRATE JUDGE
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